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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

DISABILITY RIGHTS TEXAS,                         §
                                                 §
       Plaintiff,                                §
                                                 §
vs.                                              §         CIVIL ACTION NO: 5:19-cv-01162-XR
                                                 §
ROBERT ARIZPE, in his official capacity          §
as the Superintendent of San Antonio             §
State Hospital,                                  §
                                                 §
       Defendant.                                §

              ORDER APPROVING, ADOPTION, AND INCORPORATING
                        SETTLEMENT AGREEMENT

       This action comes before the Court on the Joint Motion for Court Order Approving,

Adopting, and Incorporating the Settlement Agreement and Joint Stipulation of Plaintiff DRTx,

Defendant Robert Arizpe, and the Texas Health and Human Services Commission (“Parties to the

Settlement”). After consideration of the matter and being otherwise fully advised, it is hereby

ORDERED and ADJUDGED that the Settlement Agreement, attached hereto, is approved,

adopted, and fully incorporated into this Court’s order.

       It is further ORDERED that this Court shall retain exclusive jurisdiction over all matters

relating to the enforcement of the Settlement Agreement. In the event that a Party to the Settlement

fails to comply with any portion of the Settlement Agreement, the Party to the Settlement alleging

noncompliance may seek enforcement of the Settlement Agreement in the United States District

Court for the Western District of Texas.

       The Settlement Agreement is effective upon the signing of this Order approving, adopting,

and incorporating same.
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It is so ORDERED.

SIGNED this _____________________________




                              XAVIER RODRIGUEZ
                              UNITED STATES DISTRICT JUDGE




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                                         IN THE UNITED STATES DISTRICT COURT
                                          FOR THE WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION

            DISABILITY RIGHTS TEXAS,                              §
                                                                  §
                        Plaintiff,                                §
                                                                  §
            vs.                                                   §      CIVIL ACTION NO: 5:19-cv-01162-XR
                                                                  §
            ROBERT ARIZPE, in his official capacity               §
            as the Superintendent of San Antonio                  §
            State Hospital,                                       §
                                                                  §
                        Defendant.                                §

                                                 SETTLEMENT AGREEMENT

            This Settlement Agreement sets forth the full and final terms by which Defendant Robert Arizpe,
            in his official capacity as the Superintendent of San Antonio State Hospital (“SASH”); Texas
            Health and Human Services Commission (“HHSC”), as the entity responsible for administering
            and overseeing SASH; and Plaintiff Disability Rights Texas (“DRTx”) (collectively, the “Parties”)
            have settled and resolved all claims that have been raised in the above-captioned lawsuit
            (“Litigation”).

            The Parties to the Settlement acknowledge that federal law and regulations will govern any future
            action under this Agreement.

                  1. INTRODUCTION AND HISTORY OF LITIGATION

                  1.1       On September 25, 2019, DRTx filed an Original Complaint in this Court against
                            Defendant in his official capacity, alleging violations of the Protection and Advocacy
                            for Individuals with Mental Illness Act (“PAIMI”), 42 U.S.C. §§ 10801, et seq.; The
                            Developmental Disabilities Assistance and Bill of Rights Act (“PADD”), 42 U.S.C. §§
                            15001, et seq.; and the Protection and Advocacy for Individual Rights Act (“PAIR”),
                            29 U.S.C. § 794e. These three laws are collectively referred to as the “P&A Acts.”

                  1.2       Specifically, Plaintiff’s Original Complaint set forth the history concerning DRTx’s
                            investigation into the death of N.R., a person with mental illness and physical
                            disabilities who died at SASH in June 2019. DRTx investigated N.R.’s death pursuant
                            to its federal mandate to investigate abuse and neglect of persons with disabilities when
                            those incidents are reported to DRTx or DRTx staff have probable cause to believe they
                            may have occurred. In the course of its investigation, DRTx staff requested records
                            from SASH, including video surveillance; N.R.’s medical records; peer review, clinical
                            death review, administrative death review, mortality review, and root cause analysis
                            documents; and reports and correspondence with third parties about N.R.’s death.
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                         Texas HHSC responded to DRTx’s request on behalf of Defendant and initially refused
                         to provide the requested records, asserting the requested records were the types of
                         records that are protected under the PSQIA, 42 U.S.C. §§ 299b-21, et seq.

                 1.3     DRTx subsequently filed this suit pursuant to 42 U.S.C. § 1983, alleging violations of
                         its federal right to access the requested records under the P&A Acts. DRTx prayed for
                         declaratory and injunctive relief, reasonable attorneys’ fees and costs, and any other
                         relief the Court determined to be just and equitable. DRTx specifically prayed for future
                         injunctive relief based on HHSC’s statements that certain kinds of records were outside
                         of DRTx’s reach under the PSQIA, thereby limiting the records DRTx would be given
                         access to in future investigations and for future clients at SASH and all other state
                         hospitals.

                 1.4     Since the filing of the Original Complaint, the Parties to the Settlement engaged in
                         limited discovery and then agreed to mediation. The Parties to the Settlement attended
                         a half-day mediation with Senior Judge Stephen Yelenosky on October 1, 2020.
                         Following mediation, the Parties to the Settlement have continued to negotiate
                         settlement, including meeting eleven times, culminating in this Settlement Agreement.

                 2. DEFINITIONS AND TERMS

                 As used within this Settlement Agreement, these terms shall have the following meanings:

                 2.1     Agreement. “Agreement” means this settlement agreement and all exhibits attached to
                         it.

                 2.2     Court. “Court” means the Court having jurisdiction over this Litigation, at any stage
                         (presently the United States District Court for the Western District of Texas).

                 2.3     Days. “Days” means calendar days unless otherwise stated.

                 2.4     Defendant. Defendant means Robert Arizpe, in his official capacity as the
                         Superintendent of San Antonio State Hospital.

                 2.5     Disability Rights Texas and DRTx. “Disability Rights Texas” and “DRTx” mean the
                         federally designated protection and advocacy system established in Texas under the
                         Protection and Advocacy for Individuals with Mental Illness Act, 42 U.S.C. § 10801
                         et seq.; the Protection and Advocacy for Individuals with Developmental Disabilities
                         Act, 42 U.S.C. § 15041 et seq.; and the Rehabilitation Act, 29 U.S.C. § 794e.

                 2.6     Parties to the Settlement. “Parties to the Settlement” means, collectively, DRTx,
                         Defendant Arizpe, and HHSC.

                 2.7     Protection & Advocacy Acts and P&A Acts. “Protection and Advocacy Acts” and
                         “P&A Acts” mean the Protection and Advocacy for Individuals with Mental Illness
                         Act, 42 U.S.C. § 10801 et seq.; the Protection and Advocacy for Individuals with
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                          Developmental Disabilities Act, 42 U.S.C. § 15041 et seq.; and the Protection and
                          Advocacy for Individual Rights Act (“PAIR”), 29 U.S.C. § 794e, collectively.

                 2.8      Patient Safety Quality Improvement Act and PSQIA. “Patient Safety Quality
                          Improvement Act” and “PSQIA” mean the Act set forth in 42 U.S.C. § 299b-21 through
                          299b-26.

                 2.9      Patient Safety Organization and PSO. “Patient Safety Organization” and “PSO”
                          mean a private or public entity or component thereof that is certified and listed pursuant
                          to 42 U.S.C. § 299b-24 and is designated by HHSC as the PSO for the State Hospitals.
                          The Texas A&M Rural and Community Health Institute (“ARCHI”) is currently
                          designated as HHSC’s PSO.

                 2.10     State Hospital. “State Hospital” means a hospital operated by Texas Health & Human
                          Services Commission to provide inpatient care and treatment for persons with mental
                          illness and specifically includes but is not limited to Austin State Hospital, Big Spring
                          State Hospital, Kerrville State Hospital, North Texas State Hospital (both campuses),
                          Rusk State Hospital, San Antonio State Hospital, Terrell State Hospital, the Rio Grande
                          State Center, El Paso Psychiatric Center, and Waco Center for Youth.

                 2.11     State Office. “State Office” means the Texas Health & Human Services Commission
                          staff responsible for review and release of records and other duties set forth under this
                          Agreement.

                 2.12     Texas Health & Human Services Commission and HHSC. “Texas Health & Human
                          Services Commission” and “HHSC” mean the division of Texas Health & Human
                          Services responsible for the operation and administration of mental health services in
                          the State of Texas, including but not limited to the administration and oversight of the
                          State Hospitals.


                 3. DRTX’S ACCESS TO STATE HOSPITAL RECORDS

                 3.1      For all future requests for records from a state hospital, DRTx staff will use the form
                          attached to this Agreement and marked as Attachment A. Attachment A is incorporated
                          into the Settlement Agreement by reference as if fully stated herein.

                 3.2      The different types of information identified under Section C of Attachment A are
                          records to which DRTx is entitled access when investigating or otherwise acting as the
                          P&A and shall be provided to DRTx within 20 days of State Hospital staff’s receipt of
                          the completed form. The Parties to the Settlement agree these records cannot be
                          withheld from DRTx on the basis that they constitute Patient-Safety Work Product
                          (“PSWP”).

                             3.2.1    The Parties to the Settlement agree that, if DRTx determines the requested
                                      records are time-sensitive, that DRTx can request, on a case-by-case and
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                                      non-routine basis, that State Hospital staff provide the requested records
                                      within three business days of receipt of the request. Where DRTx exercises
                                      the option to make a time-sensitive request, State Hospital staff shall take,
                                      in good faith, all reasonable steps to provide the requested records within
                                      three business days. To the extent State Hospital staff cannot reasonably
                                      provide the records within that time frame, they shall notify DRTx of that
                                      and suggest a revised deadline for providing records that shall be reasonably
                                      prompt. The parties agree to negotiate any revised deadlines in good faith.
                                      If the State Hospital has multiple requests that cannot all be fulfilled within
                                      the three-day timeframe, the State Hospital will ask DRTx to designate the
                                      highest to lowest priority for requests to be fulfilled. If this becomes
                                      untenable the parties will re-evaluate this provision by agreement.

                 3.3     If what information is requested is unclear to the State Hospital, the State Hospital’s
                         representative may ask DRTx to clarify the request. If a large amount of information
                         has been requested, the State Hospital representative may discuss with DRTx how the
                         scope of the request might be narrowed or prioritized but may not inquire as to the
                         purpose for which the information will be used. The time to meet the applicable
                         deadline will be tolled, day by day, after the request for clarification is issued and until
                         DRTx provides a written reply to the request for clarification. If DRTx does not provide
                         a written response to the request for clarification within 60 days of such request, the
                         DRTx request for information will be considered to be withdrawn.

                 3.4     Each State Hospital shall maintain a log of requests made by DRTx which will include,
                         but is not limited to, the date the request was received, a brief summary of the request,
                         the status of the State Hospital’s response, and the date on which the request was
                         fulfilled. The State Hospital shall provide DRTx with access to a log with the most
                         current information each week or no later than the next business day following any due
                         date which falls on a holiday.

                 3.5     When DRTx requests a Root Cause Analysis (“RCA”) in Section D of Attachment A,
                         State Hospital staff shall promptly (within two business days) forward the request to
                         HHSC State Office for review and response as follows:

                         3.5.1        If more than 60 days have passed since the discovery of the incident and the
                                      subject of the RCA and the initial RCA report was not reported to the PSO,
                                      State Office will authorize release of the RCA to DRTx. State Office or
                                      State Hospital staff will provide the records within 20 days of State Office’s
                                      receipt of DRTx’s request.

                         3.5.2        If the RCA has been sent to the PSO, State Office will communicate this
                                      fact to DRTx within 20 days of State Office’s receipt of DRTx’s request
                                      and will not provide a copy of the RCA.

                         3.5.3        If fewer than 60 days have passed since the incident the subject of the RCA
                                      and State Office has not made the determination of whether to send the RCA
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                                      to the PSO, State Office will communicate this fact to DRTx within 20 days
                                      of State Office’s receipt of DRTx’s request. Following the expiration of 60
                                      days, State Office will either provide the RCA pursuant to paragraph 3.5.1
                                      or will not provide the documents, pursuant to 3.5.2.

                 3.6     When DRTx requests access to a Death Review in Section D of Attachment A, State
                         Hospital staff shall promptly (within two business days) forward the request to HHSC
                         State Office for review and release as follows:

                         3.6.1         If DRTx requests a Death Review, the Death Review shall be treated the
                                       same as an RCA and paragraph 3.5 shall govern DRTx’s request.

                         3.6.2         By February 15, 2022 HHSC will send a rule packet to the Texas Register
                                       modifying the Texas Administrative Code requirements for State Hospitals
                                       to conduct death reviews (currently found in 25 Texas Administrative
                                       Code Chapter 405, Subchapter K). If HHSC meets this deadline, during
                                       the time the rules are pending for adoption in the Texas Register, a request
                                       for a Death Review shall be treated the same as a request for an RCA and
                                       paragraph 3.5 shall govern DRTx’s request.

                         3.6.3         After February 15, 2022, if HHSC has not sent a rule packet to the Texas
                                       Register to modify the Texas Administrative Code requirements for State
                                       Hospitals to conduct death reviews, if DRTx requests a Death Review, then
                                       DRTx shall be provided the requested records within 20 days of State
                                       Office’s receipt of the request.

                         3.6.4         If the requirements for State Hospitals to conduct death reviews are not
                                       removed from the Texas Administrative Code and DRTx requests a Death
                                       Review, then DRTx shall be provided the requested records within 20 days
                                       of State Office’s receipt of DRTx’s request.

                         3.6.5         If the requirements for State Hospitals to conduct death reviews are
                                       removed from the Texas Administrative Code, Death Reviews will no
                                       longer be released to DRTx.

                 3.7     Records provided to DRTx under this Agreement shall be full, unredacted, and exact
                         copies of the records as they appear in the State Hospital records keeping system,
                         except that State Office and/or Hospital staff can redact private personal information
                         such as social security numbers, home addresses, medical or disability information, and
                         personal financial decisions from records responsive to DRTx requests for personnel
                         files.

                 3.8     The Parties to the Settlement agree that for all records provided to DRTx, DRTx will
                         maintain the confidentiality of the records to the same extent as required by state and
                         federal law. When providing records to DRTx, State Office and/or State Hospital staff
                         will clearly mark which records are considered confidential by state or federal law.
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                 3.9     The Parties to the Settlement agree that the form attached here as Attachment A and
                         incorporated herein by reference shall not be changed, except by agreement of Texas
                         HHSC and DRTx.

                 4. CONTINUING JURISDICTION AND ENFORCEMENT

                 4.1     This Agreement shall be construed and governed according to the federal and state law
                         or regulations governing patient safety activity and the Protection and Advocacy Acts.
                         The Parties to the Settlement agree that if federal or state law or regulations change
                         regarding patient safety activity or the Protection and Advocacy Acts and they affect
                         any part of this Agreement, the Parties to the Settlement will comply with the current
                         law or regulations.

                 4.2     Each Party to the Settlement hereby releases the other, its current and former officials,
                         employees, agents, and representatives, from any and all liability and causes of action
                         that have arisen or may arise out of the dispute and litigation described herein, including
                         the Complaint and Answer and Affirmative Defenses in Case No. 5:19-cv-01162-XR.

                 4.3    The Parties agree to submit a joint motion to the Court to enter this Agreement, with a
                        request that, following a hearing if the Court deems it appropriate, the Court dismiss
                        the Lawsuit pursuant to Fed. R. Civ. P. 41(a)(2) but retain jurisdiction to enforce the
                        Agreement according to the terms set forth herein.

                 5. COMPLIANCE DISPUTES ARISING UNDER THIS AGREEMENT

                 5.1     If DRTx believes that HHSC has failed to fulfill any obligation under this Agreement,
                         the Parties to the Settlement agree that the process contained in Section 5 constitutes
                         the exclusive means for resolution of any dispute related to any such claim of
                         noncompliance.

                 5.2     DRTx will give written notice to HHSC that sets forth with specificity the details of
                         the alleged noncompliance, including the specific provisions of this Agreement
                         concerning which the noncompliance is asserted and the reasons for the alleged
                         noncompliance. HHSC will have 30 days from the date of such written notice to
                         respond in writing by denying noncompliance or by proposing steps that it will take,
                         and by when, to cure the alleged noncompliance.

                 5.3     If HHSC fails to respond within 30 days or denies noncompliance, DRTx may file a
                         motion with the Court seeking specific performance regarding the alleged
                         noncompliance, or, if DRTx has already obtained an order for specific performance
                         regarding the same alleged noncompliance, DRTx may file a motion to ensure
                         compliance with the provisions of the Agreement addressed in the order for specific
                         performance. DRTx will not initiate any such compliance motion without first having
                         obtained an order for specific performance referenced herein and having given HHSC
                         at least seven business days’ notice of the intent to initiate such motion.
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                 5.4     If HHSC timely responds within 30 days by proposing curative action by a specified
                         deadline, DRTx may accept HHSC’s proposal or offer a counterproposal for a different
                         curative action or deadline. The Parties to the Settlement will confer in good faith to
                         resolve any outstanding differences regarding the proposed curative action, but a Party
                         to the Settlement may seek an order for specific performance 30 days after the date of
                         HHSC’s curative action proposal if the Parties to the Settlement fail to reach agreement
                         on a plan for curative action. In any action brought under this section, the party filing
                         the action will have the burden of proof.

                 5.5     Failure by a Party to the Settlement to enforce any provision of this Agreement will not
                         be construed as a waiver of the party’s right to enforce other provisions of the
                         Agreement.

                 6. DISMISSAL OF CLAIMS

                 6.1     Within 45 days of the effective date of this Agreement, Defendant Arizpe and Plaintiff
                         DRTx will file with the Court the joint motion referenced in Section 4.3.

                 7. ATTORNEYS’ FEES, COSTS, AND EXPENSES

                 7.1     Each Party shall bear its own costs and attorneys’ fees associated with the litigation
                         and settlement of this action.

                 8.SEVERABILITY

                 8.1     To the extent that any provision of this Settlement Agreement is held to be invalid or
                         unenforceable, such provision will be severed from the remainder of the Settlement
                         Agreement and the Settlement Agreement will be construed as if the invalid or
                         unenforceable provision did not exist.

                 9. MODIFICATION

                 9.1     This Agreement will not be modified, amended, or supplemented except by a writing
                         executed by counsel for DRTx and Texas HHSC, or by an order of the Court.
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                 10. BINDING

                 10.1    This Agreement is final and binding on the Parties to the Settlement, including all
                         agents, administrators, representatives, successors, and assigns. Each Party to the
                         Settlement has a duty to so inform any such principal, agent, administrator,
                         representative, successor, or assign.

                 11. EXECUTION OF AGREEMENT

                 11.1    Counsel for Defendant and Texas HHSC have been fully authorized by their client to
                         enter into and execute this Agreement, under the terms and conditions contained herein.

             SIGNED on the dates indicated below:



                                                                            February 22, 2022 | 12:54 PM CST
            ___________________________________                           _______________________
            BETH MITCHELL                                                   Date
            Disability Rights Texas/LWLJDWLRQ$WWRUQH\




                                                                              February 22, 2022 | 1:13 PM CST
            ____________________________________                          _______________________
            LISA SNEAD                                                      Date
            Disability Rights Texas /LWLJDWLRQ$WWRUQH\




             Robert Arizpe
            ___________________________________
                                                                           02/14/2022
                                                                          ______________________
            ROBERT ARIZPE                                                  Date
            Superintendent
            San Antonio State Hospital
            Texas Health & Human Services Commission




            ____________________________________                          _______________________
            SCOTT SCHALCHLIN                                                Date
            Deputy Executive Commissioner
            Health & Specialty Care System
            Texas Health & Human Services Commission
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            Continuation of Disability Rights Texas & HHSC Settlement Agreement




             Karen Ray
                                       Digitally signed by Karen Ray
                                       Date: 2022.02.22 09:28:00                  2/22/22
            _____________________________________
                                       -06'00'                                    _______________________
            KAREN RAY                                                              Date
            Chief Counsel
            Texas Health & Human Services Commission



             Kimberly Gdula Digitally signed by Kimberly Gdula
                            Date: 2022.02.22 09:45:48 -06'00'                     2/22/22
            _____________________________________                                 _______________________
            KIM GDULA                                                               Date
            Assistant Attorney General
            Texas Office of the Attorney General
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